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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

Brianna Boe, et al.,                     )
Plaintiffs,                              )
                                         )
United States of America,                )
Intervenor Plaintiff,                    )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
Hon. Steve Marshall, in his official     )
capacity as Attorney General,            )
of the State of Alabama, et al.,         )
                                         )
Defendants.                              )

       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION
                  TO COMPEL PRODUCTION OF
            PLAINTIFFS’ MEDICAL RECORDS (DOC. __)

       Upon consideration of Defendants’ motion to compel production of Plaintiffs’

medical records (Doc. __), it is hereby ORDERED that the motion is GRANTED

and Plaintiffs are ORDERED to provide responsive documents to Defendants’ First

Requests for Production 5-9, including all mental health records. The objections

stated by Plaintiffs are OVERRULED.

Dated: ________________                BY THE COURT:

                                       _________________________
                                       LILES C. BURKE
                                       UNITED STATES DISTRICT JUDGE
